      Case 2:17-cv-00127-SMV-LAM Document 24 Filed 04/26/17 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

DONNY HERNANDEZ,

       Plaintiff,

vs.                                                  No.    2:17-cv-00127-SMV-LAM

ALLSTATE INSURANCE COMPANY,

       Defendant.

                                    ORDER OF DISMISSAL

       THIS MATTER having come before the Court upon the Motion of the Defendant

Allstate Insurance Company, for a Dismissal with Prejudice, of all claims that were set forth or

which could have been set forth against Defendant Allstate Insurance Company and the Court

having considered said Motion, and noting the concurrence of counsel, FINDS that the Motion is

well taken and should be granted.

       IT IS THEREFORE ORDERED that all claims against Allstate Insurance Company

which were set forth in the Complaint, or which could have been set forth in the Complaint are

hereby dismissed with prejudice.

       IT IS FURTHER ORDERED that each party be responsible for their own costs and

attorneys’ fees.




                                             THE HONORABLE STEPHAN M. VIDMAR
                                             MAGISTRATE JUDGE

APPROVED AS TO FORM:

/s/ Stephen M. Simone
Attorney for Allstate in the
Extra-Contractual Claim
      Case 2:17-cv-00127-SMV-LAM Document 24 Filed 04/26/17 Page 2 of 2




/s/Robert A. Skipworth 4-21-17
Robert A. Skipworth
Attorney for Plaintiff

/s/ Ann L. Keith 4-21-17
Ann L. Keith
Attorney for Allstate in the
Contractual Claim
